          Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 1 of 26




                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

  TRAXCELL TECHNOLOGIES, LLC,
          Plaintiff,

      v.                                                  CASE NO. 6:21-cv-00023
  GOOGLE LLC,
          Defendant.
                                                          JURY DEMAND


        PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Traxcell Technologies, LLC. (“Traxcell”) files this Original Complaint, and demand for

jury trial seeking relief from patent infringement by Google LLC (“Defendant” or “Google”),

alleging infringement of the claims of U.S. Pat. No. 9,918,196 and U.S. Pat. No. 9,549,388

(collectively referred to as “Patents-in-Suit”), as follows:

                                    I.        THE PARTIES

   1.   Plaintiff Traxcell is a Texas Limited Liability Company, with its principal place of

business located at 103 Country Club Drive. #508, Marshall, Texas 75672.

   2. Defendant Google LLC is a Delaware corporation with a principal place of business located

at 1600 Amphitheater Parkway, Mountain View, California 94043. Google designs, manufactures,

uses, imports into the United States, sells, and/or offers for sale in the United States smartphones,

tablets, iPods, desktop computers, and notebook computers that use Google Maps. Google

markets, sells, and offers to sell its products and/or services, including those accused herein of

infringement, to actual and potential customers and end-users located in Texas and in the judicial

Western District of Texas such as at the Google maintains a permanent physical presence within

the Western District of Texas, conducting business from at least its locations at: 9606 North Mo-

Pac Expressway, Suite 700, Austin, Texas 78759; 500 West 2nd Street, Suite 2000, Austin, Texas


                                                  1
         Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 2 of 26




78701; 4100 Smith School Road, Austin, Texas 78744; as well as other locations in and around

the Austin area.

   3. Google is registered to do business in Texas and can be served via its registered agent,

Corporation Service Company dba CSC – Lawyers Incorporating Service Company at 211 East

7th Street, Suite 620, Austin, Texas 78701-3218.

   4. Google has placed or contributed to placing infringing products like the Google Maps for

use on a computing device connected to a wireless network into the stream of commerce via an

established distribution channel knowing or understanding that such products would be sold and

used in the United States, including in the Western District of Texas. On information and belief,

Google also has derived substantial revenues from infringing acts, including but not limited to

advertising, business APIs, private usage, OEM usage, and/or the like.

                              II. JURISDICTION AND VENUE

   5. This is an action for patent infringement arising under the patent laws of the U.S., 35 U.S.C.

       §§ 1 et. seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

       1332(a) and 1338(a).

   6. This Court has personal jurisdiction over Defendants because: Defendants are present

       within or has minimum contacts within the State of Texas and this judicial district;

       Defendants have purposefully availed itself of the privileges of conducting business in the

       State of Texas and in this judicial district; Defendants regularly conducts business within

       the State of Texas and within this judicial district; and Plaintiff’s cause of action arises

       directly from Defendants’ business contacts and other activities in the State of Texas and

       in this judicial district. The amount in controversy is more than $75,000.00.




                                                2
       Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 3 of 26




7. Venue is proper in this judicial district per 28 U.S.C. §§ 1391 and 1400(b). Google has

     committed acts of infringement in this judicial district and maintains regular and

     established places of business in this district, as set forth above. Google has continuous and

     systematic business contacts with the State of Texas. Google, directly or through

     subsidiaries or intermediaries (including distributors, retailers, contract manufacturers, and

     others), conducts its business extensively throughout Texas, by shipping, manufacturing,

     distributing, offering for sale, selling, and advertising (including the provision of

     interactive web pages) its products and services in the State of Texas and the Western

     District of Texas. Google, directly or through subsidiaries or intermediaries (including

     distributors, retailers, contract manufacturers, and others), has purposefully and voluntarily

     placed its infringing products and services into this District and into the stream of

     commerce with the intention and expectation that they will be purchased and used by

     consumers in this District.

            III. INFRINGEMENT (‘196 Patent (attached as Exhibit A))

8.   On March 13, 2018, U.S. Patent No. 9,918,196 (“the ’196 patent”), attached as Exhibit A,

     entitled “Internet queried directional navigation system with mobile and fixed originating

     location determination” was duly and legally issued by the U.S. Patent and Trademark

     Office. Traxcell owns the ’196 patent by assignment.

9. The ’196 Patent’s Abstract states, “A mobile wireless network and a method of operation

     provide directional assistance in response to an Internet query. The directional assistance

     is provided from a location of the querying device to a destination that may be selectively

     prompted based on whether the destination is a nearby business, a type of business, a street

     address, or another mobile device or fixed telephone location. The location of the querying



                                               3
                    Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 4 of 26




                  device is also selectively determined depending on whether the querying device is a

                  wireless device such as a mobile telephone, or whether the device has a presumed fixed

                  location, such as an ordinary telephone connected to a public-switched telephone network

                  (PSTN).

               10. The following preliminary exemplary chart provides notice of Traxcell’s allegations of

                  infringement.

 Exemplary Claim                                Corresponding Structure in Accused Systems

A method of providing   The Google Maps online navigation service and the Google Maps server-side or cloud
navigation assistance   infrastructure needed to provide the service, constitute the “Accused System”.
to a user of a
communications
device, the method      The term “Google Maps” encompasses and includes all the versions and variants of the Google
comprising:             Maps web (for PC) and the Google Maps app (Google Maps app for Android and iOS devices)
                        and the applications supported by the Google Maps Platform.



                        The “method of providing navigation assistance to a user of a communications device” refers to
                        the method by which Google Maps provides online navigation assistance (directions) to a user of
                        a communications device or UE (example: mobile phone, smartphone, laptop, tablet, iPhone,
                        iPad etc.) including the Google Maps app or including a browser plugin enabling access to the
                        Google Maps website or having other means to access the Google Maps website, for querying
                        and receiving navigation instructions for travelling from a starting location (current location of
                        the communications device or a location specified by its user as the ‘origin’) to a destination
                        location (a location specified by the said user as the ‘destination’).



                        The “communications device” refers to a UE (example: mobile phone, smartphone, laptop, tablet,
                        iPhone, iPad etc.) including the Google Maps app or including a browser plugin enabling access
                        to the Google Maps website or having other means to access the Google Maps website for
                        querying and receiving navigation instructions for travelling from a starting location (current
                        location of the communications device or a location specified by its user as the ‘origin’) to a
                        destination location (a location specified by the said user as the ‘destination’).




                                                           4
                         Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 5 of 26




  Exemplary Claim                                     Corresponding Structure in Accused Systems

                             The said “communications device” (the user of the said “communications device”) is device of
                             including but not limited to Verizon, T-Mobile, Sprint, SPRINT, Nokia, and the other United
                             States communications device provider.



                             Verizon, T-Mobile, Sprint, supports the Google Maps online navigation service on devices that
                             are subscribed to wireless telecommunications network services of the Verizon, T-Mobile,
                             Sprint, SPRINT, Nokia or any other united states carrier. Verizon, T-Mobile, SPRINT, etc.
                             provides the mobile data service required to use the Google Maps online navigation service.



                             Google Maps provides navigation assistance (directions) to a “user of a communications device”
                             for travelling from a starting location (Ex: Starbucks, 13-25 Astor Pl, New York, NY 10003,
                             USA) to a destination location (Ex: Central Park South, New York, NY, USA).




receiving, by a              Navigation using Google Maps online navigation service is a well-known example of off board
directional assistance       navigation. To elaborate, an off board navigation system is a client/server system wherein only
service, an Internet         the user interface (UI) resides on the client’s (user’s) communications device and all the
                             databases (GIS and/or mapping) and infrastructure required for computation (of route, distance,
query initiated at the
                             travel time, traffic etc.) reside remotely on a server or a network of servers (the server-side)
communications               located on the world wide web (www). The server-side could also comprise virtual (instead of
device and directed via      physical) or cloud server infrastructure. The client side (user interface or UI at a user’s
the Internet to initiate a   communications device) can only communicate with the server-side via the Internet.
request for
navigational assistance      This claim element refers to the method and process involved in initiating a navigation query,
to a destination;            using Google Maps online navigation service, to obtain directions (navigation assistance) for
                             travelling from a starting location to a destination location. The process involved in initiating the
                             said navigation query includes inputting a destination location at the Google Maps’ user interface
                             (UI) at the user’s communications device, and sending the said query via Internet to the remote
                             Google Maps server (cloud server). The said remote Google Maps server (cloud server) receives
                             the said query via Internet.

                             The term “directional assistance service” herein refers to Google Maps online navigation service
                             supported and facilitated by wireless telecommunications network of the Verizon, T-Mobile,
                             Sprint, SPRINT, Nokia or any other united states carrier.




                                                                 5
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 6 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

                    The “communications device” refers to a UE (example: mobile phone, smartphone, laptop, tablet,
                    iPhone, iPad etc.) including the Google Maps app or including a browser plugin enabling access
                    to the Google Maps website or having other means to access the Google Maps website, for
                    querying and receiving navigation instructions for travelling from a starting location (current
                    location of the communications device or a location specified by its user as the ‘origin’) to a
                    destination location (a location specified by the said user as the ‘destination’).



                    The method of using the Google Maps for navigation includes initiating a query at the
                    communications device to initiate a request for navigational assistance for travelling from a
                    starting point (which could be the current location of the user’s communications device) to a
                    destination, by specifying (inputting) the destination and the starting point (if different from the
                    current location of the user’s communications device).

                    The said query is directed via the Internet to the remote Google Maps server (cloud server). In
                    other words, the Google Maps server (cloud server) receives the said query through the Internet.
                    Google Maps online navigation is an example of off board navigation. In other words, Google
                    Maps online navigation system is a client/server system wherein only the user interface (UI)
                    resides on the client’s (user’s) communications device and all the databases (GIS and/or
                    mapping) and infrastructure required for computation (of route, distance, travel time, traffic etc.)
                    reside remotely on a Google Maps server or a network of servers (the server-side) located on the
                    world wide web (www). The server-side could also comprise virtual (instead of physical) or
                    cloud server infrastructure. The client side (user interface or UI at a user’s communications
                    device) can only communicate with the server-side via the Internet. In other words, destination is
                    input and a query is initiation at the Google Maps user interface (UI) at the client device and the
                    query (including the input destination) is communicated from the client-side (client or user’s
                    communications device) to the remote server-side (Google Maps server) via the Internet. The
                    Google Maps server, upon receiving the query (including the input destination) communicated
                    from the client-side (client or user’s communications device) via the Internet, identifies the
                    required map tiles (or grid squares), computes or calculates the route(s), and downloads the
                    required map tiles (or grid squares) and the computed or calculated route(s) to the client-side
                    (client or user’s communications device) via the Internet.

                    The aforementioned fact that Google Maps online navigation is an example of off-board
                    navigation is established from the following details available in the public domain –

                    a) In Attachment 8, which is a copy of information on off-board navigation available on the
                    Wikipedia, Google Maps (online navigation) is cited as an example of off-board navigation
                    system. The following is mentioned therein –




                                                         6
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 7 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

                    “In addition to navigation software, there are also route planner as offboard solution. The
                    difference to the conventional route planning in the Internet is the possibility of the location
                    transmission of the user. Google Maps offers such a mobile route planner with the Google Maps
                    Mobile software.”


                    Attachment 8 also elaborates on and describes off-board navigation. The following is mentioned
                    therein –

                    “The offboard navigation allows the use of a mobile phone as a navigation system, with the
                    route data and maps not stored on the device. Using special navigation software, the user contacts
                    an external server via UMTS or GPRS and downloads the desired route information and maps
                    from there. In everyday language, off-board navigation is also called "mobile phone navigation".



                    “The difference between offboard navigation and onboard navigation: In the case of onboard
                    navigation, the route data and maps are stored together with navigation software in the mobile
                    device. This requires a lot of storage space, so onboard navigation is only suitable for devices
                    with a larger processor and more storage space, such as PDAs and smartphones. For offboard
                    navigation, however, are now many popular mobile phones with Java operating system (J2ME).
                    A prerequisite for offboard navigation is that the mobile phone can connect to the Internet via
                    UMTS or GPRS. Both variants require GPS reception. It must therefore have an integrated or an
                    externally connected GPS receiver (GPS mouse). If an external GPS receiver is used, the two
                    devices are now usually coupled together via Bluetooth.”


                    b) In Attachment 9, which is a copy of information on Google Maps navigation available on the
                    Wikipedia, Google Maps (online navigation) is described as an off-board navigation system,
                    which subsequent to receiving a destination input at the client-side user interface (UI) obtains
                    map and route information (from its server) via the Internet. The following is mentioned therein –

                    “Google Maps Navigation is a mobile application developed by Google for the Android and iOS
                    operating systems that was later integrated into the Google Maps mobile app. The application
                    uses an Internet connection to a GPS navigation system to provide turn-by-turn voice-guided
                    instructions on how to arrive at a given destination. The application requires connection to
                    Internet data (e.g. 3G, 4G, WiFi, etc.) and normally uses a GPS satellite connection to determine
                    its location. A user can enter a destination into the application, which will plot a path to it. The
                    app displays the user's progress along the route and issues instructions for each turn.”




                                                        7
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 8 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

                    “Once the user has searched for a destination, the map will cache along the intended route. Note
                    that the application requires an Internet connection to search for the route, but once a route has
                    been found, the user no longer requires an Internet connection as the route is temporarily saved
                    onto the device.”



                    c) In Attachment 10, which is a copy of information on Google Maps available on the Wikipedia,
                    Google Maps (online navigation) is described as an off-board navigation system, wherein
                    subsequent to inputting a destination input at the client-side user interface (UI) map tiles (or grid
                    squares) are downloaded to the client-side (user’s communications device) from the remote
                    Google Maps server via the Internet. The following is mentioned therein –



                    “As the user drags the map, the grid squares are downloaded from the server and inserted into the
                    page. When a user searches for a business, the results are downloaded in the background for
                    insertion into the side panel and map; the page is not reloaded.”



                    d) Attachment 11 describes Google Maps (online navigation) as an online and off board
                    navigation system, which upon destination input and query initiation at the UI at the client
                    device, downloads maps to the client device from its remote server via Internet. Attachment 11
                    also elaborates on and describes a typical “online/off board navigation system”.



                    The following is mentioned therein –



                    “Navigation online / offboard This refers to a navigation solution that does not store your maps
                    in the internal memory of the smartphone or on its SD card, but during use continuously from a
                    server on the Internet. Thus, a continuous, wideband broadband Internet connection (UMTS,
                    HSDPA, in the future also LTE) during the navigation is mandatory requirement.
                    Benefits of this online solution: You do not have to worry about map updates, but always
                    automatically use the most up-to-date maps available. In addition, the two most popular online
                    navigation solutions for Android are free: Skobbler from a Berlin company and the well-known
                    Google Maps Navigation.”

                    Attachment 11 also mentions the amount of data Google Maps (online navigation) requires. The
                    following is mentioned therein –


                                                        8
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 9 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

                    “However, these free online solutions certainly have disadvantages: they cause considerable data
                    traffic between the server of the navigation solution provider and your smartphone. If you only
                    select the map view on Google Maps, you can significantly reduce the traffic: A 55-kilometer
                    route caused only 1 MB of traffic in Google Maps Navigation in the map view. In the satellite
                    view, it was on the same route 11 MB of traffic!”

                    “And of course, an online solution requires a good internet connection. So, if you're often away
                    from metropolitan areas in areas with poor data connectivity and therefore usually surf at edge
                    speeds, then you should opt for an onboard solution. However, the use of Google Maps
                    Navigation worked well with Edge, if you do not unnecessarily increase the resulting traffic.
                    Therefore, our tip: With an online navigation solution like Google Maps Navigation, you
                    should do without the satellite view and only choose the map view if the internet connection is
                    poor and / or the monthly traffic limit is low.”

                    e) Attachment 12 describes Google Maps (online navigation) as an off board navigation system,
                    which upon destination input and query initiation at the UI at the client device, downloads maps
                    to the client device from its remote server via Internet. The following is mentioned therein –
                    “Using GPS and mobile network, Google Maps locates you with astonishing precision. If you are
                    looking for restaurants, petrol stations or ATMs, you will not only get the corresponding contact
                    details and the position on the map, but you can also be directed there directly. With Google Map
                    you always check your current position and find the best route to your desired destination. Who
                    wants to use the free navigation frequently, should get an internet flat rate, as Google Maps pulls
                    the map data from the Internet (Offboard- Navigation).”

                    f) Attachment 4 indicates that Google Maps (online navigation) is an off board navigation
                    system, which upon destination input and query initiation at the UI at the client device,
                    downloads maps to the client device from its remote server via Internet. It also confirms that
                    wireless telecommunications network (T-Mobile, Verizon, SPRINT, etc.) provides the mobile
                    data service required to use the Google Maps online navigation service. The following is
                    mentioned therein –

                    “Google maps has offline maps feature save mobile data. Global Positioning Service - GPS is
                    provided free of cost by satellite everywhere. Data will be used to get maps on the go with T
                    Mobile, Verizon, Sprint, Airtel, Vodafone.”



                    “Google maps app is FREE to use but they do need area maps to be downloaded. Google maps
                    allows offline or without internet access of their maps, if you have downloaded them earlier on
                    your mobile.”




                                                        9
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 10 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

                    “If not downloaded, and you use Google maps to find directions using your own FREE GPS
                    receiver (installed in your smartphone) using your mobile internet connection to get maps on the
                    go and show you directions.”



                    “Remember, Google maps (if maps not already available) would need the internet connection and
                    would incur internet data charges in

                    roaming.”



                    So, based on the foregoing information it is established that navigation using Google Maps
                    online navigation service is an example of off board navigation. As we have learnt, an off board
                    navigation system is a client/server system wherein only the user interface (UI) resides on the
                    client’s (user’s) communications device and all the databases (GIS and/or mapping) and
                    infrastructure required for computation (of route, distance, travel time, traffic etc.) reside
                    remotely on a server or a network of servers (the server-side) located on the world wide web
                    (www). The server-side could also comprise virtual (instead of physical) or cloud server
                    infrastructure. The client side (user interface or UI at a user’s communications device) can only
                    communicate with the server-side via the Internet. In other words, destination is input and a
                    query is initiation at the Google Maps user interface (UI) at the client device and the query
                    (including the input destination) is communicated from the client-side (client or user’s
                    communications device) to the remote server-side (Google Maps server) via the Internet. The
                    Google Maps server, upon receiving the query (including the input destination) communicated
                    from the client-side (client or user’s communications device) via the Internet, identifies the
                    required map tiles (or grid squares), computes or calculates the route(s), and downloads the
                    required map tiles (or grid squares) and the computed or calculated route(s) to the client-side
                    (client or user’s communications device) via the Internet.

                    The said query is communicated from the Google Maps’ client-side to the Google Maps server in
                    the form of a URL

                    The method of using the Google Maps for navigation includes initiating a query at the
                    communications device to initiate a request for navigational assistance for travelling from a
                    starting point (which could be the current location of the user’s communications device) to a
                    destination, by specifying (inputting) the destination and the starting point (if different from the
                    current location of the user’s communications device).

                    The said query is directed via the Internet to the remote Google Maps server (cloud server). In
                    other words, the Google Maps server (cloud server) receives the said query through the Internet.




                                                        10
                     Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 11 of 26




  Exemplary Claim                                   Corresponding Structure in Accused Systems

responsive to receiving   Google Maps is programmed to identify the “phone type” (or device type) and the “unique
the Internet query,       identifier” of the communications device (UEat which the said navigation query is initiated. In
determining whether       other words, Google Maps determines whether or not the said communications device (UE) is a
                          mobile wireless communications device (UE).
or not the
communications            “a mobile wireless communications device” refers to a mobile wireless communications device
device is a mobile        or UE (example: mobile phone, smartphone, laptop, tablet, iPhone, iPad etc.), which includes the
wireless                  Google Maps app or includes a browser plugin enabling access to the Google Maps website or
communications            has other means to access the Google Maps website for querying and receiving navigation
device;                   instructions for travelling from a starting point (current location of the communication’s device
                          or a location specified by its user as the ‘origin’) to a destination location (a location specified by
                          the said user as the ‘destination’).


                          In Attachment 20, Google Privacy Policy document, it is clearly mentioned that Google (Google
                          Maps) collects information such as device type, phone number and unique identifiers pertaining
                          to the communications device (UE) at which a navigation query is initiated and communicated
                          to the Google Maps server. In other words, Google Maps has means to determine whether a
                          querying communications device (UE) is a mobile wireless communications device (UE) or not.

                          The following is mentioned therein –

                          “Information we collect as you use our services



                          From the aforementioned, it is also confirmed that whenever a communications device uses
                          Google Maps, information such as mobile network information including name of the carrier
                          serving the said communications device are collected by Google (Google Maps). In other words,
                          Google Maps can also ascertain whether the communications device (UE) at which the said
                          navigation query is initiated, is connected to the Google Maps server through a wireless
                          telecommunications network service (i.e. through RF signal-based communication) or through a
                          Wi-Fi network supported by a fixed-line or wired broadband Internet service.


                          A copy of the Google Play webpage displaying information on Google Maps app updated on
                          November 8, 2018, it is clearly mentioned that the Google Maps app has access to Phone, Device
                          ID and Call information pertaining to the device on which it is installed, and it can read “phone
                          status and identity”. In other words, Google Maps has means to determine whether a querying
                          communications device (UE) is a mobile wireless communications device (UE) or not.

                          Google Maps app installed on a communications device can “view Wi-Fi connections” and can
                          “view network connections” pertaining to the said communications device.

                                                              11
                      Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 12 of 26




  Exemplary Claim                                  Corresponding Structure in Accused Systems


                          In other words, Google Maps can also ascertain whether the communications device (UE) at
                          which the said navigation query is initiated, is connected to the Google Maps server through a
                          wireless telecommunications network service (i.e. through RF signal-based communication) or
                          through a Wi-Fi network supported by a fixed-line or wired broadband Internet service.


                          In summary, Google Maps has means to determine whether a querying communications device
                          (UE) is a mobile wireless communications device (UE) or not, and also whether the said
                          communications device (UE) is connected to the Google Maps server through a wireless
                          telecommunications network service (i.e. through RF signal-based communication) or through a
                          Wi-Fi network supported by a fixed-line or wired broadband Internet service.


responsive to             If the Google Maps online navigation service determines that the said navigation query has been
determining that the      initiated at a mobile wireless communications device (UE), and that the said query was
communications            communicated through a wireless telecommunications network service (i.e. through RF signal-
device is the mobile      based communication), Google Maps determines current location of the mobile wireless
wireless                  communications device (UE) and uses it as the starting point for providing navigation
communications            information (instructions or directions) to travel to the destination input by the user of the said
device, the directional   communications device (UE).
assistance service
determining and using
                          The “the mobile wireless communications device” or the “communications device” refers to the
a present location of     mobile wireless communications device or UE (example: mobile phone, smartphone, laptop,
the mobile wireless       tablet, iPhone, iPad etc.) at which the navigation query was initiated.
communications
device as a location of   A user can simply input a “destination” entry and initiate a navigation query on the Google
the communications        Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
device;                   (Google Maps app on an Android smartphone). The Google Maps server, upon receiving the
                          navigation query (including input “destination”) from the client-side via Internet, determines the
                          “current location” of the user’s mobile wireless communications device, uses it as the default
                          starting point, ascertains the location of the input “destination”, computes or calculates the
                          route(s) and directions, and downloads the computed or calculated route(s) and directions to the
                          user’s mobile wireless communications device.

                          A user can simply input a “destination” entry and initiate a navigation query on the Google
                          Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
                          (Google Maps app on an Android smartphone). The Google Maps server, upon receiving the
                          navigation query (including input “destination”) from the client-side via Internet, determines the
                          “current location” of the user’s mobile wireless communications device, uses it as the default
                          starting point, ascertains the location of the input “destination”, computes or calculates the


                                                             12
                       Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 13 of 26




  Exemplary Claim                                 Corresponding Structure in Accused Systems

                         route(s) and directions, and downloads the computed or calculated route(s) and directions to the
                         user’s mobile wireless communications device.

                         As has been mentioned with reference to the previous claim element, Google Maps, upon
                         receiving a navigation query from a user’s communications device, determines whether or not the
                         said communications device is a mobile wireless communications device.

                         Aa user can simply input a “destination” entry and initiate a navigation query on the Google
                         Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
                         (Google Maps app on a smartphone). Implying that the Google Maps server, upon receiving the
                         navigation query (including input “destination”) from the client-side via Internet, determines the
                         “current location” of the user’s mobile wireless communications device, uses it as the default
                         starting point, ascertains the location of the input “destination”, computes or calculates the
                         route(s) and directions, and downloads the computed or calculated route(s) and directions to the
                         user’s mobile wireless communications device.

                         A user can simply input a “destination” entry and initiate a navigation query on the Google
                         Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
                         (Google Maps app on an Android phone or tablet). The Google Maps server, upon receiving the
                         navigation query (including input “destination”) from the client-side via Internet, determines the
                         “current location” of the user’s mobile wireless communications device, uses it as the default
                         starting point, ascertains the location of the input “destination”, computes or calculates the
                         route(s) and directions, and downloads the computed or calculated route(s) and directions to the
                         user’s mobile wireless communications device.



responsive to            As mentioned previously, Google Maps is programmed to identify the “phone type” (or device
determining that the     type) of the communications device (UE) at which the said navigation query is initiated, and also
communications           to ascertain whether the communications device (UE) at which the said navigation query is
device is not the        initiated, is connected to the Google Maps server through a wireless telecommunications network
mobile wireless          service (i.e. through RF signal-based communication) or through a Wi-Fi network supported by a
communications           fixed-line or wired broadband Internet service.
device, obtaining a
fixed location
                         In other words, Google Maps has means to determine whether a querying communications
associated with the
                         device (UE) is a mobile wireless communications device (UE) or not, and also whether the said
communications
                         communications device (UE) is connected to the Google Maps server through a wireless
device to determine
                         telecommunications network service (i.e. through RF signal-based communication) or through a
the location of the
                         Wi-Fi network supported by a fixed-line or wired broadband Internet service.



                                                            13
                      Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 14 of 26




  Exemplary Claim                                  Corresponding Structure in Accused Systems

communications            In the Google Privacy Policy document, it is clearly mentioned that Google (Google Maps)
device; and               collects information such as device type, phone number and unique identifiers pertaining to the
                          communications device (UE) at which a navigation query is initiated and communicated to the
                          Google Maps server. In other words, Google Maps has means to determine whether a querying
                          communications device (UE) is a mobile wireless communications device (UE) or not. The
                          following is mentioned therein:

the directional           In response to receiving the navigation query (which includes the “destination” entry input by the
assistance service        user at the Google Maps client-side user interface or UI residing at the user’s communications
providing navigation      device) initiated at the communications device (UE) and directed via the Internet, Google Maps
                          server determines the current location of the querying (the user’s) communications device,
information to the
                          considers it the default starting point, ascertains the location of the input “destination”, computes
communications            and provides the navigation information (directions) to the said communications device (UE) to
device in response to     travel from the current location of said communications device (UE) to the input destination.
the Internet query,
wherein the navigation    A user can simply input a “destination” entry and initiate a navigation query on the Google
provides directions for   Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
proceeding from the       (Google Maps app on an Android smartphone). The Google Maps server, upon receiving the
                          navigation query (including input “destination”) from the client-side via Internet, determines the
location of the
                          “current location” of the user’s mobile wireless communications device, uses it as the default
communications            starting point, ascertains the location of the input “destination”, computes or calculates the
device to a location of   route(s), and downloads the computed or calculated route(s) to the user’s mobile wireless
the destination.          communications device. In this manner, Google Maps provides the navigation information
                          (directions) to the said communications device (UE) to travel from the current location of said
                          communications device (UE) to the input destination.

                          A user can simply input a “destination” entry and initiate a navigation query on the Google
                          Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
                          (Google Maps app on an Android smartphone). The Google Maps server, upon receiving the
                          navigation query (including input “destination”) from the client-side via Internet, determines the
                          “current location” of the user’s mobile wireless communications device, uses it as the default
                          starting point, ascertains the location of the input “destination”, computes or calculates the
                          route(s), and downloads the computed or calculated route(s) to the user’s mobile wireless
                          communications device. In this manner, Google Maps provides the navigation information
                          (directions) to the said communications device (UE) to travel from the current location of said
                          communications device (UE) to the input destination.




                 11. Defendant makes, uses, offers to sell, and/or sells within or imports into the wireless-

                    network components, related applications and programs, and related services that use

                    identified locations of wireless devices to provide directional assistance such that
                                                              14
     Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 15 of 26




   Defendant infringes claims 1–30 of the ’196 patent, literally or under the doctrine of

   equivalents.

12. Defendant put the inventions claimed by the ’196 Patent into service (i.e., used them); but

   for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

   products and services would never have been put into service.             Defendant’s acts

   complained of herein caused those claimed-invention embodiments as a whole to perform,

   and Defendant obtaining monetary and commercial benefit from it.

13. Defendant has and continues to induce infringement. Defendants have actively encouraged

   or instructed others (e.g., its customers, such as Verizon, T-Mobile and Sprint), and

   continues to do so, on how to use its products and services (e.g., wireless-network

   components and related applications and programs that use identified locations of wireless

   devices to provide directional assistance) such to cause infringement claims 1–30 of the

   ’196 patent, literally or under the doctrine of equivalents. Moreover, Defendant has known

   and should have known of the ’196 patent, by at least by the date of the patent’s issuance,

   or from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

   application was cited to Defendants by the U.S. Patent and Trademark Office during

   prosecution of one of Defendant’s patent applications, such that Defendant knew and

   should have known that it was and would be inducing infringement.

14. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

   or instructed others (e.g., its customers and/or the customers of its related companies, such

   as Verizon, T-Mobile and Sprint), and continues to do so, on how to use its products and

   services e.g., wireless-network components and related applications and programs that use

   identified locations of wireless devices to provide directional assistance) such as to cause



                                            15
        Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 16 of 26




       infringement of one or more of claims 1–30 of the ’196 patent, literally or under the

       doctrine of equivalents. Moreover, Defendant has known of the ’196 patent and the

       technology underlying it from at least the date of issuance of the patent or from the issuance

       of the ‘284 patent, which followed the date that the patent’s underlying application was

       cited to Defendants by the U.S. Patent and Trademark Office during prosecution of one of

       Defendant’s patent applications, such that Defendant knew and should have known that it

       was and would be contributorily infringing.

   15. Defendants have caused and will continue to cause Traxcell damage by infringing the ’196

       patent.

                 IV.   INFRINGEMENT (’388 Patent (Attached as exhibit B))

   16. On January 17, 2017, U.S. Patent No. 9,549,388 (“the ’388 patent”) entitled “Mobile

wireless device providing off-line and on-line geographic navigation information” (attached as

Exhibit D) was duly and legally issued by the U.S. Patent and Trademark Office. Traxcell owns

the ’388 patent by assignment.

   17. The ’388 Patent’s Abstract states, “A mobile device, wireless network and their method of

operation provide both on-line (connected) navigation operation, as well as off-line navigation

from a local database within the mobile device. Routing according to the navigation system can

be controlled by traffic congestion measurements made by the wireless network that allow the

navigation system to select the optimum route based on expected trip duration.”

   18. The following preliminary exemplary chat provides Traxcell’s allegations of infringement.




                                                16
                    Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 17 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

                       The Google Maps online navigation service and the Google Maps server-side or cloud
A wireless
                       infrastructure needed to provide the service, constitute the “Accused System”.
communications
system including:



a first radio-         When a wireless communication device transceivers and antennas are in communication,
  frequency            they are coupled. Further, in addition to being so coupled, the transceiver of each Exhibit-
  transceiver within   B item is also configured for RF-communication wireless communication networks, such
  a wireless mobile    as AT&T, Verizon, T-Mobile, and other US networks (Cellular or WLAN) via Google
  communications       Maps which comes preloaded on Exhibit-B items.
  device and an
                       Wireless mobile communication device — including but not limited to Google’s branded
  associated first     devices
  antenna to which
  the first radio-     such as Google Pixel 5, pixel 4a 5G, pixel 4a, pixel 4 XL, pixel 4, pixel 3a XL, pixel 3a,
  frequency            pixel 3 XL, pixel 3, pixel 2, pixel 2 XL, pixel XL, pixel, pixel C or other (third-parties)
  transceiver is       branded devices such as Samsung Galaxy S20 Ultra, Galaxy S20 plus, Galaxy S20,
  coupled, wherein     Galaxy Z fold, Galaxy S10, Galaxy A series, etc.— include radio-frequency transceivers
  the first radio-     and an associated antenna. When wireless communication device transceivers and
  frequency            antennas are in communication, they are coupled. Further, in addition to being so coupled,
  transceiver is       the transceiver of each is also configured for RF-communication with the wireless
  configured for       communication network.
  radio-frequency
  communication
  with a wireless
  communications
  network;
                       Wireless mobile communication device- including but not limited to Google’s branded
a first processor
                       devices such as Google Pixel 5, pixel 4a 5G, pixel 4a, pixel 4 XL, pixel 4, pixel 3a XL,
  within the
                       pixel 3a, pixel 3 XL, pixel 3, pixel 2, pixel 2 XL, pixel XL, pixel, pixel C or other (third-
  wireless mobile
                       parties) branded devices such as Samsung Galaxy S20 Ultra, Galaxy S20 plus, Galaxy
  communications
                       S20, Galaxy Z fold, Galaxy S10, Galaxy A series, etc. (refer Exhibit B for complete list)
  device coupled to
                       has a processor, for example, Quad-Core/ Octa-core processor.
  the at least one
  first radio-         Each Exhibit-B-listed mobile wireless communications device’s motherboard processor is
  frequency            programmed to process location-service information; i.e., to receive a location of the
  transceiver          device from the wireless communications network (which is communicated to the device
                       from the first RF transceiver) and generate an indication of the device’s location with
                       respect to geographic features according to mapping information stored within the device.

                                                          17
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 18 of 26




Exemplary Claim                             Corresponding Structure in Accused Systems

                       For example, the motherboard processor may use Google Maps to view and find places
                       around the globe. The processor and base station transceivers communicate by RF
                       communication and, thus, when doing so are communicatively coupled.



programmed to          Plaintiff contends the Exhibit-B-listed mobile-wireless-communications device’s
  receive a location   motherboard processor is programmed to process location-service information; i.e., to
  of the wireless      receive a location of the device from the wireless communications network and generate
  mobile               an indication of the device’s location.
  communications
  device from the      For example, the motherboard processor may use Google Maps to obtain the device’s
  wireless             location and provide direction from that location to a destination. Wireless mobile
  communications       communication device- including but not limited to Google’s branded devices such as
  network and          Google Pixel 5, pixel 4a 5G, pixel 4a, pixel 4 XL, pixel 4, pixel 3a XL, pixel 3a, pixel 3
  generate an          XL, pixel 3, pixel 2, pixel 2 XL, pixel XL, pixel, pixel C or other (third-parties) branded
  indication of a      devices such as Samsung Galaxy S20 Ultra, Galaxy S20 plus, Galaxy S20, Galaxy Z fold,
  location of the      Galaxy S10, Galaxy A series, etc. has a processor for example, Quad-Core processor.
  wireless mobile      When wireless communication device transceivers and processor are in communication,
  communications       they are coupled. Further, the Location-based Service (LBS) provider, such as Google
  device with          Map, on the Exhibit-B utilizes the processor coupled to the transceiver to
  respect to           estimates/receive the location on mobile wireless communications devices by utilizing
  geographic           wireless communication network or first computer.
  features             For example, the motherboard processor may use Google Maps to view and find places
                       around the globe. Google map can also show your current location and provide direction
                       (including with respect to geographic features such as nearby restaurants) from your
                       location/source to any destination. In using Google Maps App, the mobile wireless
                       communication device’s motherboard processor generates signals for displaying on the
                       device’s screen a blue dot that shows the current location of the wireless mobile
                       communication device. The Google map app estimates the location of the device from 3
                       sources: GPS (GPS uses satellites and knows your location within a few meters), Wi-Fi
                       (the location of nearby Wi-Fi networks helps Maps know where you are), and cell towers
                       (cell tower can be accurate up to a few thousand meters). When Google Maps isn’t sure
                       about your location, a light blue circle around the blue dot is shown. You might be
                       anywhere within the light blue circle. The smaller the circle, the more certain the app is
                       about your location.

                       Furthermore, Google Maps App provides flexibility to download maps on SD
                       card/internal memory of communication device examples of compatible devices is

                                                         18
                 Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 19 of 26




Exemplary Claim                             Corresponding Structure in Accused Systems

                       Samsung Galaxy S20, Pixel 4a, Pixel 4a 5G, Pixel 5, etc., and navigate offline. When
                       internet is slow or mobile data is expensive, or communication device cannot connect to
                       internet, an area can be saved to phone or tablet (Exhibit B) from Google maps app and
                       use it when offline. Communication device can use Offline maps for Navigation through
                       the downloaded area without internet.




according to           Plaintiff contends Google’s and others mobile-wireless-communications device’s
  mapping              motherboard processor is programmed to process location-service information; i.e., to
  information stored   receive a location of the device from the wireless communications network and generate
  within the           an indication of the device’s location.
  wireless mobile
  communications       For example, the motherboard processor may use Google Maps to obtain the device’s
  device, and          location and provide direction from that location to a destination. Wireless mobile
                       communication device- including but not limited to Google’s branded devices such as
                       Google Pixel 5, pixel 4a 5G, pixel 4a, pixel 4 XL, pixel 4, pixel 3a XL, pixel 3a, pixel 3
                       XL, pixel 3, pixel 2, pixel 2 XL, pixel XL, pixel, pixel C or other (third-parties) branded
                       devices such as Samsung Galaxy S20 Ultra, Galaxy S20 plus, Galaxy S20, Galaxy Z fold,
                       Galaxy S10, Galaxy A series, etc. (refer Exhibit B for complete list) has a processor for
                       example, Quad-Core processor. When wireless communication device transceivers and
                       processor are in communication, they are coupled. Further, the Location-based Service
                       (LBS) provider, such as Google Map, on the Exhibit-B utilizes the processor coupled to
                       the transceiver to estimates/receive the location on mobile wireless communications
                       devices by utilizing wireless communication network or first computer.

                       For example, the motherboard processor may use Google Maps to view and find places
                       around the globe. Google map can also show your current location and provide direction
                       (including with respect to geographic features such as nearby restaurants) from your
                       location/source to any destination. In using Google Maps App, the mobile wireless
                       communication device’s motherboard processor generates signals for displaying on the
                       device’s screen a blue dot that shows the current location of the wireless mobile
                       communication device. The Google map app estimates the location of the device from 3
                       sources: GPS (GPS uses satellites and knows your location within a few meters), Wi-Fi
                       (the location of nearby Wi-Fi networks helps Maps know where you are), and cell towers

                                                         19
                Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 20 of 26




Exemplary Claim                            Corresponding Structure in Accused Systems

                      (cell tower can be accurate up to a few thousand meters). When Google Maps isn’t sure
                      about your location, a light blue circle around the blue dot is shown. You might be
                      anywhere within the light blue circle. The smaller the circle, the more certain the app is
                      about your location.

                      Furthermore, Plaintiff contends Google Maps App provides flexibility to download maps
                      on SD card/internal memory of communication device examples of compatible devices is
                      Samsung Galaxy S20, Pixel 4a, Pixel 4a 5G, Pixel 5, etc., and navigate offline. When
                      internet is slow or mobile data is expensive, or communication device cannot connect to
                      internet, an area can be saved to phone or tablet from Google maps app and use it when
                      offline. Communication device can use Offline maps for Navigation through the
                      downloaded area without internet.




                      Plaintiff contends the motherboard processor (i.e., processor on the motherboard) of each
wherein the
                      wireless communication device item
 processor displays
 to the user          meets this limitation. The processor processes location-service information, including
 navigation
 information          displaying user navigation information according to the device’s location with regards to
 according to the     geographic features and a user-specified
 location of the
                      destination. For example, using Google map app for more examples of location services
 wireless mobile
                      processed by each Exhibit-B device’s motherboard processor) the device user locates the
 communications
                      device’s current location on the google map app and then provide details for
 device with
 respect to the       a destination on the options, provided in the Google map app. The user can then navigate
 geographic           (i.e., the processor processes display information) in real time from current location to
 features and a       destination. The processor displays navigation in the Google Maps app to display turn-by-
 destination          turn directions. Using the Google map app, the processor will show the directions and use
 specified by the     real-time traffic information to find the best route to the specified destination.
 user at the
 wireless mobile
 communications
 device;




                                                        20
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 21 of 26




Exemplary Claim                              Corresponding Structure in Accused Systems

at least one second     Plaintiff contends each Accused System includes a base station and each of which is
  radio-frequency       coupled to at least one antenna. Base station includes radio-frequency transceivers
  transceiver and an    designed and used for radio-frequency communication with at least one antenna. When
  associated at least   base-station transceivers and antennas are in communication, they are coupled. Further, in
  one second            addition to being so coupled, the transceivers and antenna of each Exhibit-A item are also,
  antenna of the        by placement within a base station, physically coupled.
  wireless              The cell of the wireless communications network include base stations for transmission
  communications        and reception of wireless signals to and from the mobile wireless communication devices
  network to which      or UEs or user devices (mobile phones, laptops, tablets, PDAs etc.). These base stations
  the second radio-     are, therefore, RF transceivers. Also, these base stations are coupled with at least one
  frequency
                        antenna for the function of transmission and reception.
  transceiver is
  coupled; and



a second processor      Plaintiff contends that Google Maps has one or more processors that determine(s) the
  coupled to the at     location of wireless mobile communications devices. These processors communicatively
  least one second      coupled to the second RF transceiver(s) and are programmed to determine a wireless
  radio-frequency       mobile communication device’s location.
  transceiver           Wireless mobile communications devices can, through the second RF transceiver(s),
  programmed to         communicatively connect to and use Google Maps. Google Maps’ processors can
  determine the         determine the device’s current location and direction from that location/source to any
  location of the       destination. The processors are programmed to estimate the location of the device from 3
  wireless mobile       sources: GPS (GPS uses satellites and knows your location within a few meters), Wi-Fi
  communications        (the location of nearby Wi-Fi networks helps Maps know where you are), and cell towers
  device,               (cell tower can be accurate up to a few thousand meters).




wherein the second      Plaintiff contends each wireless mobile can set preference flags that enable or disable
 processor              accessibility to data relevant to the device’s location by Location-Based Services (LBS)
 selectively            providers. Such programmability by a wireless device is at times known as a privacy
                        setting. Further, such programmability is available by location-permission granting
 determines the
                        (wireless mobile communications device must grant permission).
 location of the
 wireless mobile        The LBS providers’ processors select to determine a wireless mobile communications
 communications         device’s location if the preference flags applicable to that device have been set for
                        enablement. The processors select to not determine a wireless mobile communications

                                                          21
                  Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 22 of 26




Exemplary Claim                             Corresponding Structure in Accused Systems

 device dependent      device’s location if the preference flags applicable to that device have not been set for
 on the setting of     enablement.
 preference flags,



wherein the second     Plaintiff contends each wireless mobile can set preference flags that enable or disable
 processor             accessibility to data relevant to the device’s location by Location-Based Services (LBS)
 determines the        providers. The LBS providers’ processors select to determine a wireless mobile
                       communications device’s location if the preference flags applicable to that device have
 location of the
                       been set for enablement. The processors select to not determine a wireless mobile
 wireless mobile       communications device’s location if the preference flags applicable to that device have
 communications        not been set for enablement.
 device if the
                       The Navigation hardware/software will only be able to determine and track the location of
 preference flags
                       the Wireless communication device such as but not limited to including but not limited to
 are set to a state
                       Google’s branded devices such as Google Pixel 5, pixel 4a 5G, pixel 4a, pixel 4 XL, pixel
 that permits
                       4, pixel 3a XL, pixel 3a, pixel 3 XL, pixel 3, pixel 2, pixel 2 XL, pixel XL, pixel, pixel C
 tracking of the
                       or other (third-parties) branded devices such as Samsung Galaxy S20 Ultra, Galaxy S20
 user of the
                       plus, Galaxy S20, Galaxy Z fold, Galaxy S10, Galaxy A series, etc., Plaintiff contends
 wireless mobile
                       each wireless mobile can set preference flags that enable or disable accessibility to data
 communications
                       relevant to the device’s location by Location-Based Services (LBS) providers. Such
 device and
                       programmability by a wireless device is at times known as a privacy setting. Further, such
 communicates the
                       programmability is available by location-permission granting (wireless mobile
 location of the
                       communications device must grant permission).
 wireless mobile
 communications        Plaintiff contends that if the preference flags are enabled (i.e., the wireless-mobile-
 device to the first   communication device’s user has granted permission), LBS-providers’ processor(s)
 processor via the     proceed with determining the device’s location and, when determined, communicates that
 second radio-         location to the first processor through the second RF transceiver (which, as discussed
                       above, is a transceiver to which the LBS-providers’ processors communicatively couple).
 frequency
                       The LBS-providers’ processors are programmed to estimate the location of the device
 transmitter, and      from 3 sources: GPS (GPS uses satellites and knows your location within a few meters),
                       Wi-Fi (the location of nearby Wi-Fi networks helps Maps know where you are), and cell
                       towers (cell tower can be accurate up to a few thousand meters).




                                                          22
                Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 23 of 26




Exemplary Claim                            Corresponding Structure in Accused Systems

wherein the second    Plaintiff contends that if the preference flags are not enabled (i.e., the wireless-mobile-
 processor does       communication device’s user has not
 not determine        granted permission), LBS provider application hardware/software, will not be able to
 and                  determine and track the location of the Wireless communication device (Exhibit B) such
 communicate the      as but not limited to Google’s branded devices such as Google Pixel 5, pixel 4a 5G, pixel
 location of the      4a, pixel 4 XL, pixel 4, pixel 3a XL, pixel 3a, pixel 3 XL, pixel 3, pixel 2, pixel 2 XL,
 wireless mobile      pixel XL, pixel, pixel C or other (third-parties) branded devices such as Samsung Galaxy
 communications       S20 Ultra, Galaxy S20 plus, Galaxy S20, Galaxy Z fold, Galaxy S10, Galaxy A series,
 device if the        etc.
 preference flags
 are set to a state
 that prohibits
 tracking of the
 wireless mobile
 communications
 device.




           19. Defendant makes, uses, offers to sell, and/or sells within or imports into the U.S., wireless-

               network components and related applications and programs, and related services that use

               identified locations of wireless devices to provide tracking such that Defendant infringes

               claims 1–30 of the ’388 patent, literally or under the doctrine of equivalents.


           20. Defendant put the inventions claimed by the ’388 Patent into service (i.e., used them); but

               for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

               products and services would never have been put into service.              Defendant’s acts


                                                        23
     Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 24 of 26




   complained of herein caused those claimed-invention embodiments as a whole to perform,

   and Defendant obtaining monetary and commercial benefit from it.

21. Defendant has and continues to induce infringement. Defendants have actively encouraged

   or instructed others (e.g., its customers, such as Verizon, T-Mobile and Sprint), and

   continues to do so, on how to use its products and services (e.g., wireless-network

   components and related applications and programs that use identified locations of wireless

   devices to provide tracking of mobile devices) such to cause infringement claims 1–30 of

   the ’388 patent, literally or under the doctrine of equivalents. Moreover, Defendant has

   known and should have known of the ’388 patent, by at least by the date of the patent’s

   issuance, or from the issuance of the ‘284 patent, which followed the date that the patent’s

   underlying application was cited to Defendants by the U.S. Patent and Trademark Office

   during prosecution of one of Defendant’s patent applications, such that Defendant knew

   and should have known that it was and would be inducing infringement.

22. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

   or instructed others (e.g., its customers and/or the customers of its related companies, such

   as Verizon, T-Mobile and Sprint), and continues to do so, on how to use its products and

   services e.g., wireless-network components and related applications and programs that use

   identified locations of wireless devices to provide tracking of mobile devices) such as to

   cause infringement of one or more of claims 1–30 of the ’388 patent, literally or under the

   doctrine of equivalents. Moreover, Defendant has known of the ’388 patent and the

   technology underlying it from at least the date of issuance of the patent or from the issuance

   of the ‘284 patent, which followed the date that the patent’s underlying application was

   cited to Defendants by the U.S. Patent and Trademark Office during prosecution of one of



                                            24
            Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 25 of 26




          Defendant’s patent applications, such that Defendant knew and should have known that it

          was and would be contributorily infringing.

       23. Defendants have caused and will continue to cause Traxcell damage by infringing the ’388

          patent.

 V. PRAYER FOR RELIEF

WHEREFORE, Traxcell respectfully requests that this Court:

  i.      enter judgment that Defendants have infringed the Patents-in-Suit;

 ii.      award Traxcell damages in an amount sufficient to compensate it for Defendants’

          infringement of the Patents-in-Suit, in an amount no less than a reasonable royalty, together

          with prejudgment and post-judgment interest and costs under 35 U.S.C. § 284;

iii.      award Traxcell an accounting for acts of infringement not presented at trial and an award

          by the Court of additional damage for any such acts of infringement;

 iv.      declare this case to be “exceptional” under 35 U.S.C. § 285 and award Traxcell its

          attorneys’ fees, expenses, and costs incurred in this action;

 v.       declare Defendants infringement to be willful and treble the damages, including attorneys’

          fees, expenses, and costs incurred in this action and an increase in the damage award

          pursuant to 35 U.S.C. §284;

 vi.      a decree addressing future infringement that either (i) awards a permanent injunction

          enjoining Defendants and their agents, servants, employees, affiliates, divisions, and

          subsidiaries, and those in association with Defendants, from infringing the claims of the

          Patents-in-Suit or (ii) award damages for future infringement in lieu of an injunction, in an

          amount consistent with the fact that for future infringement the Defendants will be




                                                   25
        Case 6:21-cv-00023-ADA Document 1 Filed 01/13/21 Page 26 of 26




       adjudicated infringers of a valid patent, and trebles that amount in view of the fact that the

       future infringement will be willful as a matter of law; and,

vii.   award Traxcell such other and further relief as this Court deems just and proper.

                                        JURY DEMAND

       Traxcell hereby requests a trial by jury on issues so triable by right.

                                              Respectfully submitted,

                                              Ramey & Schwaller, LLP


                                          By: /s/ William P. Ramey, III
                                             William P. Ramey, III
                                             Texas Bar No. 24027643
                                             5020 Montrose Blvd., Suite 800
                                             Houston, Texas 77006
                                             (713) 426-3923 (telephone)
                                             (832) 900-4941 (fax)
                                             wramey@rameyfirm.com

                                              Attorneys for Traxcell Technologies, LLC




                                                 26
